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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


  In re: PARAQUAT PRODUCTS                             Case No. 3:21-md-3004-NJR
  LIABILITY LITIGATION
                                                       MDL No. 3004
  This Document Relates to All Cases



                CASE MANAGEMENT ORDER NO. 16
                  RESETTING EXPERT DEADLINES,
         DISPOSITIVE MOTION DEADLINES, AND TRIAL DATE

 ROSENSTENGEL, Chief Judge:

        Hurricanes, illnesses, family emergencies. These things are a part of life—and

 litigation. Unfortunately, they happen, and they cause delays despite best efforts by a

 court and counsel.

        The undersigned started this litigation in June 2021 with an aggressive schedule,

 with the goal of having the first trial underway in November 2022. (See Doc. 127,

 Transcript of Initial Case Management Conference on June 23, 2021). At that time the

 Court (regrettably) did not anticipate the resistance that would come from efforts to

 coordinate with local state court litigation which had recently settled on the eve of trial

 after extended pretrial proceedings. (Id. at p. 3).

        A little more than a year ago, the undersigned still intended to start a trial in

 November 2022; additional trial dates of March 13, 2023, June 12, 2023, and September

 18, 2023, were set. (See CMO 12, Doc. 587). Various deadlines had to be tweaked along

 the way (see Docs. 1541, 1739), and by August 2022, it was clear a trial in November 2022


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 was not realistic. The November 2022, March 2023, and June 2023 dates were vacated.

 (See CMO 15, Doc. 2183).

        And now, because of unexpected occurrences (a hurricane, COVID-19 infections,

 and other issues) and despite committed efforts by counsel, the depositions of Plaintiffs’

 experts have been delayed, which, of course, has impacted the disclosure of Defendants’

 expert reports. The parties have negotiated informal extensions with the Special Master,

 and the Court addressed the issues with counsel at the recent status conference.

        Notably, the Court previously rejected a request for simultaneous expert

 disclosures and set deadlines for Defendants’ disclosures to follow Plaintiffs’. The

 undersigned will not change course on that decision now simply because of unexpected

 delays, solely in an effort to maintain deadlines (and a trial date) that have become

 obviously unrealistic. That being said, it is still the undersigned’s intent to marshal these

 cases to resolution, if possible, or at least to complete pretrial proceedings as expected by

 the Judicial Panel on Multidistrict Litigation (“JPML”), in a timely fashion.

        Accordingly, after considering the status of expert discovery in this MDL, and in

 consultation with Special Master Randi S. Ellis, the Court RESETS deadlines as follows:

    x   Defendants shall provide Plaintiffs with a list of all experts and dates for their
        experts’ depositions on or before December 23, 2022.

    x   Defendants shall complete depositions of Plaintiffs’ experts on or before January
        6, 2023.

    x   Defendants experts’ reports shall be disclosed by January 20, 2023.

    x   Plaintiffs to complete depositions of Defendants’ experts by February 24, 2023.

    x   Plaintiffs shall disclose rebuttal experts, if any, by March 3, 2023.

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       x   Defendants shall complete depositions of Plaintiffs’ rebuttal experts by March 20,
           2023.

           In addition, the dates previously set for summary judgment and Daubert motions

 and a hearing on them (see CMO 15, Doc. 2183) are VACATED. In their place, the

 following deadlines are imposed:

       x   Summary judgment and Daubert motions shall be filed on or before April 17, 2023.1

       x   Responses to summary judgment and Daubert motions shall be filed on or before
           May 17, 2023.

       x   Replies regarding summary judgment and Daubert motions shall be filed on or
           before May 31, 2023.

           A hearing on summary judgment and Daubert motions will begin on June 26, 2023,

 at 9 a.m., in the East St. Louis Courthouse. The Court will set aside the entire week of

 June 26 for this hearing; a detailed schedule outlining the order the Court prefers to hear

 the motions, including whether any consolidated hearings will be held with any state

 court, will be provided after the motions are filed.

           x       The previously set trial dates in July and September 2023 are CANCELED.

           x       A final pretrial conference will be held at 9:30 a.m. on October 3, 2023.

 Deadlines related to motions in limine, deposition designations, witness and exhibit lists,

 and jury instructions, will be set by separate order once the first trial case is selected.

           x       Jury trial in the first trial selection case 2 will begin at 9:00 a.m. on October

 16, 2023.


 1
     The Court will set guidelines and limitations on these motions in advance of this deadline.
 2
     The Court will develop a protocol for selection of the first trial case at a later time.


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       The Court considers this schedule realistic and final. Counsel shall work diligently

 to meet these deadlines.


       IT IS SO ORDERED.

       DATED: December 12, 2022

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                                                NANCY J. ROSENSTENGEL
                                                Chief U.S. District Judge




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